           Case 2:08-cr-00307-JLR          Document 21        Filed 09/16/08     Page 1 of 3




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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR08-307-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             DETENTION ORDER
                                          )
11   FELICIA BOWEN,                       )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Cocaine

15 Date of Detention Hearing:      September 16, 2008

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense the maximum penalty of which

22 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
           Case 2:08-cr-00307-JLR          Document 21        Filed 09/16/08       Page 2 of 3




01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02          2.     Defendant’s past criminal record includes at least two, and possibly five, prior drug

03 trafficking convictions, making her eligible for a career offender increased penalty.

04          3.     The strength of the evidence, as proffered by the AUSA, is strong and the quantity

05 of cocaine seized as part of the alleged conspiracy is very high. The defendant is alleged to have

06 engaged in drug trafficking activity from her residence, exposing her 16 year old son to the

07 potential of juvenile charges and detention.

08          4.     Taken as a whole, the record does not effectively rebut the presumption that no

09 condition or combination of conditions will reasonably assure the appearance of the defendant as

10 required and the safety of the community.

11 It is therefore ORDERED:

12          (1)    Defendant shall be detained pending trial and committed to the custody of the

13                 Attorney General for confinement in a correction facility separate, to the extent

14                 practicable, from persons awaiting or serving sentences or being held in custody

15                 pending appeal;

16          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

17                 counsel;

18          (3)    On order of a court of the United States or on request of an attorney for the

19                 Government, the person in charge of the corrections facility in which defendant is

20                 confined shall deliver the defendant to a United States Marshal for the purpose of

21                 an appearance in connection with a court proceeding; and

22          (4)    The clerk shall direct copies of this Order to counsel for the United States, to

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
          Case 2:08-cr-00307-JLR        Document 21       Filed 09/16/08      Page 3 of 3




01               counsel for the defendant, to the United States Marshal, and to the United States

02               Pretrial Services Officer.

03         DATED this 16th day of September, 2008.



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05                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
